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                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS

GORDON D. SONDLAND

                  Plaintiff,

           v.                                             No. 21-2083C
                                                          (Judge Honorable Loren A. Smith)
THE UNITED STATES OF AMERICA

                  Defendant.


                                    PLAINTIFF’S WITNESS LIST

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

           Plaintiff Gordon D. Sondland (“Plaintiff”) hereby lists those persons whose testimony

Plaintiff expects to offer at the hearing in this matter, either orally or by deposition testimony:

           1.     Gordon Sondland

           2.     Robert Luskin

           3.     Kwame Manley

           4.     James McDermott

           In addition, Plaintiff hereby reserves the right to:

           1.     Supplement this list as necessary and appropriate;

           2.     Call rebuttal and/or impeachment witnesses as necessary and appropriate; and/or,

           3.     Call witnesses listed by or on behalf of any other party to this action.

 January 28, 2025                                     Respectfully submitted,


                                                      _______________________________
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                                                      Attorneys for GORDON D. SONDLAND


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                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 28th day of January, 2025, I electronically filed the foregoing
PLAINTIFF’S WITNESS LIST with the Clerk of the Court using the CM/ECF system which
will send notification of such filing to the following:

BRIAN M. BOYNTON                                         Attorneys for:
Principal Deputy Assistant Attorney General              THE UNITED STATES OF AMERICA

PATRICIA M. McCARTHY
Director

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                                                  Respectfully Submitted,

                                                  __________________________________
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